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   Attorneys for Plaintiff,
11 Lina Alhanbly
12
13                               UNITED STATES DISTRICT COURT
14                             CENTRAL DISTRICT OF CALIFORNIA
15                                    WESTERN DIVISION
16
17
     Lina Alhanbly,                             Case No.: 2:17-cv-07122-SJO-GJS
18
                         Plaintiff,             NOTICE OF VOLUNTARY
19
                                                DISMISSAL
20           vs.
21
     Westlake Financial,
22
23                       Defendant.
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25
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27
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     2:17-cv-07122-SJO-GJS                               NOTICE OF VOLUNTARY DISMISSAL
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  1              NOTICE OF WITHDRAWAL OF COMPLAINT AND
  2          VOLUNTARY DISMISSAL OF ACTION WITHOUT PREJUDICE
                          PURSUANT TO RULE 41(a)
  3
  4
                     Lina Alhanbly (“Plaintiff”), by Plaintiff’s attorney, hereby withdraws the
  5
      complaint and voluntarily dismisses this action, without prejudice, pursuant to Fed. R.
  6
      Civ. P. 41(a)(1)(A)(i).
  7
  8                                                By: /s/ Trinette G. Kent
  9                                                Trinette G. Kent, Esq.
                                                   Lemberg Law, LLC
10                                                 Attorney for Plaintiff, Lina Alhanbly
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       2:17-cv-07122-SJO-GJS                                   NOTICE OF VOLUNTARY DISMISSAL
Case 2:17-cv-07122-SJO-GJS Document 19 Filed 05/04/18 Page 3 of 4 Page ID #:83



  1                                 CERTIFICATE OF SERVICE
  2
            I, the undersigned, certify and declare that I am over the age of 18 years, and
  3
  4 not a party to the above-entitled cause. On May 4, 2018, I served a true copy of
  5 foregoing document(s): NOTICE OF VOLUNTARY DISMISSAL.
  6
  7         BY ELECTRONIC FILING: I hereby certify that on May 4, 2018, a copy of
  8
      the foregoing document was filed electronically. Notice of this filing will be sent by
  9
10 operation of the Court's electronic filing system to all parties indicated on the
11 electronic filing receipt. All other parties will be served by regular U.S. Mail. Parties
12
   may access this filing through the Court's electronic filing system.
13
14                                                   Attorney for Defendant Westlake
                                                     Financial
15
16          I am readily familiar with the firm's practice of collection and processing
17 correspondence for mailing. Under that practice it would be deposited with the U.S.
18
   Postal Service on that same day with postage thereon fully prepaid in the ordinary
19
20 course of business. I am aware that on motion of the party served, service is presumed
21 invalid if postal cancellation date or postage meter date is more than one day after the
22
   date of deposit for mailing in affidavit.
23
24          I hereby certify that I am employed in the office of a member of the Bar of this
25 Court at whose direction the service was made.
26
         Executed on May 4, 2018.
27
28
                                                 3
      2:17-cv-07122-SJO-GJS                                   NOTICE OF VOLUNTARY DISMISSAL
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  1                                        By: /s/ Trinette G. Kent
  2                                        Trinette G. Kent, Esq.
                                           Lemberg Law, LLC
  3                                        Attorney for Plaintiff, Lina Alhanbly
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      2:17-cv-07122-SJO-GJS                            NOTICE OF VOLUNTARY DISMISSAL
